                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

MELANIE MOORE,

      Plaintiff,

v.                                                     Case No: 8:20-cv-2184-T-35SPF

POOCHES OF LARGO, INC. and
LUIS MARQUEZ, Individually and as
owner of Pooches of Largo, Inc.,

      Defendants.


                                       ORDER

      THIS CAUSE comes before the Court for consideration of Defendants’ Motion

to Strike Plaintiff’s Unilateral Scheduling Report and Related Documents and Motion

to Adopt the Attached Report. (Dkt. 49) Therein, Defendants seek for the Court to

strike Plaintiff’s unilateral scheduling report. (Dkt. 46) Defendants also seek to strike

Plaintiff’s supplemental filing, which contains emails between Plaintiff and Defense

counsel. (Dkt. 48) These emails contain confidential settlement discussions; thus, they

are due to be stricken from the record. Defendants also request that the Court adopt

their proposed unilateral scheduling report. (Dkt. 49-1) Upon consideration, the Court

hereby ORDERS that Defendants’ Motion, (Dkt. 49), is GRANTED IN PART and

DENIED IN PART.

          1. Plaintiff’s supplemental filing, (Dkt. 48), is STRICKEN, as the emails

             therein contain settlement discussions.

                                            1
         2. Defendants’ request that the Court adopt their unilateral case

            management report is also DENIED.

         3. The Parties’ unilateral case management reports, (Dkts. 46, 49-1), are

            STRICKEN. Because the Parties are unable to agree as to any deadlines,

            the Court will select appropriate deadlines for the Parties and enter a

            Case Management and Scheduling Order by separate notice.

      DONE and ORDERED in Tampa, Florida, this 8th day of December 2022.




Copies furnished to:
Counsel of Record
Any pro se party




                                        2
